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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Michael Wheeler,                                  No. CV-17-03328-PHX-JAT
10                 Plaintiff,                          ORDER
11   v.
12   Trans Union LLC, et al.,
13                 Defendants.
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15           The Court, having considered the parties’ Stipulation of Dismissal of Trans
16   Union, LLC. (Doc. 54), and good cause appearing,
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             IT IS ORDERED that the above-captioned action be dismissed, with
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19   prejudice, against Defendant Trans Union, Inc., only, with each party to bear its
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     own attorneys’ fees and costs. Because Trans Union, Inc. is the only remaining
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22   Defendant, the Clerk of the Court shall close this case.
23           Dated this 18th day of September, 2018.
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